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                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF INDIANA

  Eli Lilly and Company,                       )
                                               )
               Plaintiff,                      )
                                               )
                                                    Case No. 1:24-CV-1862
  v.                                           )
                                               )
  Genesis Lifestyle Medicine of Nevada, LLC,   )
                                               )
               Defendant.                      )

         PLAINTIFF ELI LILLY AND COMPANY’S COMPLAINT FOR FALSE
                       ADVERTISING AND PROMOTION
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                                            INTRODUCTION

         1.      Defendant Genesis Lifestyle Medicine of Nevada, L.L.C. (“Genesis”) has designed

 its website and advertising materials to communicate falsely to consumers that Genesis’s untested,

 unapproved drug is clinically tested and proven to facilitate weight loss and improve blood sugar.

 In reality, these are unstudied, unapproved, and potentially dangerous drugs being falsely

 promoted as safe, effective, and clinically studied medicines for adults with type 2 diabetes or

 obesity. Genesis has no testing or proof to substantiate its representations. Plaintiff Eli Lilly and

 Company (“Lilly”) therefore brings this action to protect the public from Genesis’s dangerous,

 deceptive, and unlawful practices.

         2.      For nearly 150 years, Lilly has developed and delivered trusted and innovative

 medicines that save and improve patients’ lives.               Lilly’s proprietary MOUNJARO® and

 ZEPBOUND® are two first-of-their-kind medicines indicated for serious conditions afflicting

 millions of Americans. Approximately one in ten Americans have type 2 diabetes, and four in ten

 Americans are obese. To advance the treatment of these chronic conditions, Lilly used its

 extensive experience and years of research to develop a new class of medicines that target patients’

 GLP-1 (glucagon-like peptide-1) and GIP (glucose-dependent insulinotropic polypeptide)

 receptors. These medicines activate both receptors to improve blood sugar control and reduce

 appetite and food intake.1 FDA has approved these medicines for specific, indicated conditions

 and populations: MOUNJARO® for adults with type 2 diabetes, and ZEPBOUND® for adults with

 obesity (BMI of 30 kg/m2 or greater) or those who are overweight (BMI ≥ 27 kg/m2 or greater)




 1
  https://web.archive.org/web/20221028212253/https://www.fda.gov/news-events/press-announcements/fda-
 approves-novel-dual-targeted-treatment-type-2-diabetes (archived FDA MOUNJARO® approval press
 announcement);        https://www.fda.gov/news-events/press-announcements/fda-approves-new-medication-chronic-
 weight-management (FDA ZEPBOUND® approval press announcement).
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 and also have at least one additional weight-related condition, such as hypertension (high blood

 pressure), dyslipidemia (high cholesterol or fats in blood), type 2 diabetes mellitus, obstructive

 sleep apnea, or cardiovascular disease.

        3.      Both MOUNJARO® and ZEPBOUND® contain the active pharmaceutical

 ingredient tirzepatide. MOUNJARO® and ZEPBOUND® are the only FDA-approved medications

 that contain tirzepatide. MOUNJARO® and ZEPBOUND® are administered exclusively by

 subcutaneous injection. Before obtaining FDA approval for MOUNJARO® and ZEPBOUND®,

 Lilly undertook years of randomized controlled clinical trials evaluating the safety and efficacy of

 tirzepatide administered by subcutaneous injection on thousands of patients.

        4.      Unlike MOUNJARO® and ZEPBOUND®, Genesis’s products are not approved,

 nor even reviewed, by FDA. Genesis sells and administers compounded drugs that purport to

 contain tirzepatide from an unknown source. As FDA has warned, “compounded drugs . . . do not

 have the same safety, quality, and effectiveness assurances as approved drugs. Unnecessary use

 of compounded drugs unnecessarily exposes patients to potentially serious health risks.”2

        5.      Nevertheless, Genesis explicitly represents that its compounded products

 (Genesis’s “Unapproved Compounded Drugs”) are equivalent to Lilly’s medicines, deceptively

 relying on Lilly’s clinical trials for Lilly’s FDA-approved MOUNJARO® and ZEPBOUND® to

 support Genesis’s efficacy claims for its Unapproved Compounded Drugs.

        6.      Further, Genesis claims on its website and social media that its combination of

 tirzepatide and vitamin B12 offers enhanced weight loss benefits when compared to Lilly’s FDA-

 approved medicines, again relying on Lilly’s studies that do not investigate the impact of vitamin



 2
  https://www.fda.gov/drugs/human-drug-compounding/compounding-and-fda-questions-and-answers (FDA drug
 compounding FAQ).


                                                    2
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 B12 on clinical outcome. Genesis’s statements draw a false and improper equivalence with Lilly’s

 FDA-approved medicines and have the tendency to deceive and mislead the public into selecting

 Genesis’s Unapproved Compounded Drugs over Lilly’s FDA-approved medicines. Even more

 concerning, Genesis’s false and misleading marketing of its Unapproved Compounded Drugs

 poses a direct patient-safety risk. Genesis’s advertising ensures consumers have no notice of the

 risks associated with its products and deceives consumers as to the efficacy of those products.

            7.      FDA has warned that drugs like the one promoted by Genesis “pose a higher risk

 to patients than FDA-approved drugs,” such as MOUNJARO® and ZEPBOUND®.3 This is

 particularly true for drugs with manipulated combinations. As FDA has cautioned with respect to

 a GLP-1 medicine called semaglutide: “The safety and effectiveness of combining semaglutide

 with other ingredients”—including “cyanocobalamin (Vitamin B-12), pyridoxine (Vitamin B-6),

 levocarnitine (L-Carnitine) and nicotinamide adenine dinucleotide (NAD)”—“has not been

 established.”4 The same applies to tirzepatide. The Obesity Medicine Association likewise has

 stated, “the clinical benefit of combining semaglutide or tirzepatide with additives such as vitamin

 B12 [ ] currently lacks proven clinical evidence.”5

            8.      Genesis’s false and misleading statements have the tendency to mislead the public

 and lure individuals with serious health conditions away from safe and effective FDA-approved

 medicines in favor of untested, compounded drugs. Lilly therefore brings this false advertising

 action pursuant to the Lanham Act, 15 U.S.C. §§ 1051 et seq.


 3
  https://www.fda.gov/drugs/human-drug-compounding/drug-compounding-and-drug-shortages (FDA explainer on
 Drug Compounding).

 4
  FDA Alerts Health Care Providers, Compounders and Patients of Dosing Errors Associated with Compounded
 Injectable Semaglutide Products, https://www.fda.gov/drugs/human-drug-compounding/fda-alerts-health-care-
 providers-compounders-and-patients-dosing-errors-associated-compounded.

 5
     https://www.sciencedirect.com/science/article/pii/S266736812400024X


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                                                  THE PARTIES

            9.       Plaintiff Lilly is a corporation organized and existing under the laws of Indiana and

 has its principal place of business in Indiana.

            10.      Defendant Genesis is a corporation organized under the laws of Nevada, with its

 principal place of business located at 3037 West Horizon Ridge Parkway, Henderson, NV 89052.

 Its registered agent is Alex Spinoso, with a registered agent address at 8539 Golden Amber Street,

 Las Vegas, NV 89139. Genesis’s Nevada registration lists Alex Spinoso as its Managing Member,

 with an address at 7109 Garden Laurel Court, Plano, TX 75024.

                                        JURISDICTION AND VENUE

            11.      The Court has subject matter jurisdiction over the Lanham Act cause of action

 pleaded in this case pursuant to 15 U.S.C. § 1121 and 28 U.S.C. §§ 1331 and 1338(a).

            12.      Genesis is subject to personal jurisdiction in this District because Genesis operates

 and conducts business in this District, including the unlawful promotion of its Unapproved

 Compounded Drugs.

            13.      Genesis has regular, continuous, and systematic contacts with Indiana and this

 District. Genesis’ website lists sixty-six (66) locations from which Genesis conducts business,

 including four locations in Indiana, each of which are in this District:6




 6
     https://www.genesislifestylemedicine.com/locations/.


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        14.     On information and belief, Genesis operates physical locations at 9995 Allisonville

 Road, Fishers, IN 46038; 10425 Commerce Drive Suite 140, Carmel, IN 46032; 555 E. County

 Live Road, Suite 101, Greenwood, IN 46143; and 4050 25th Street, Columbus, IN 47203. Each

 of these locations employs Indiana residents, including but not limited to medical professionals

 who are licensed by the state of Indiana. These employees sell and offer for sale goods and

 services, including Genesis’s Unapproved Compounded Drugs, to customers in Indiana.

        15.     On information and belief, Genesis directs its advertising and solicits business

 through its website, “https://www.genesislifestylemedicine.com/.” This website is accessible from

 Indiana, is directed to Indiana residents, and has been and, on information and belief, continues to

 be accessed by Indiana residents.




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         16.    Genesis’s website further contains a “book now” button which facilitates the

 scheduling of services at Genesis’s physical locations, including at each of its four locations in this

 District.

         17.    Genesis’s contacts with Indiana and this District therefore consist of owning and

 operating physical storefronts in Indiana and this District, employing Indiana-licensed medical

 professionals to provide services at those locations, owning and operating a website accessible in

 Indiana and this District, advertising its Unapproved Compounded Drugs to potential customers

 in Indiana and this District, and providing functionality for Indiana residents to schedule an

 appointment at its locations in Indiana and this District.

         18.    Venue is proper in this District and division pursuant to 28 U.S.C. § 1391(b)(1)

 because Genesis operates and conducts business in this District and Division. Venue is also proper

 in this District pursuant to 28 U.S.C. § 1391(b)(2) because Genesis’s infringing, unfair, and

 dangerous marketing has been and is currently directed at consumers in this District.

                                    FACTUAL ALLEGATIONS

 I.      Lilly’s FDA-Approved Tirzepatide Injectable Medications

         A.     Lilly’s History of Producing Safe and Effective Medications

         19.    Lilly is an international medicine company and pharmaceutical manufacturer.

 Throughout its nearly 150-year existence, Lilly has pioneered countless life-changing discoveries.

 Today, Lilly’s medicines help tens of millions of patients across the globe, including in Indiana.

         20.    Lilly manufactures its medicines under strict controls in state-of-the-art facilities,

 which employ thousands of highly specialized personnel to ensure that Lilly’s medicines meet its

 rigorous quality and safety standards. Transforming active pharmaceutical ingredients, or API,

 into medicine is a complex, methodical, and science-based process. Lilly follows Current Good

 Manufacturing Practices (“CGMP”) across the design, monitoring, and control of manufacturing

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 processes and facilities—from establishing robust quality management systems to obtaining

 quality raw materials and detecting and investigating product quality deviations. Each step—from

 chemical synthesis of the API to formulation, device assembly, and packaging—requires extensive

 testing and controls and specialized equipment.

         21.     Lilly is also subject to—and encourages—FDA oversight and compliance

 obligations, including routine FDA inspections, adverse event reporting obligations, and post-

 market surveillance and studies.        Additionally, Lilly’s medicines must be, and always are,

 accompanied by important labels, instructions, and warnings, which themselves are approved by

 FDA.

         B.      MOUNJARO® and ZEPBOUND®

         22.     Using its experience and expertise, Lilly developed MOUNJARO® and

 ZEPBOUND®, which were approved by FDA for sale to the public in 2022 and 2023, respectively.

 Today, Lilly promotes, offers, and sells MOUNJARO® and ZEPBOUND® throughout Indiana and

 the United States, among other geographies.

         23.     Both MOUNJARO® and ZEPBOUND® contain tirzepatide as their API, which

 targets both GIP and GLP-1 hormone receptors.

         24.     Specifically, MOUNJARO® is designed to improve glycemic control in adults with

 type 2 diabetes mellitus (in addition to diet and exercise). As FDA has noted, “[d]espite the

 availability of many medications to treat diabetes, many patients do not achieve the recommended

 blood sugar goals.”7 MOUNJARO® targets this problem head-on. When used as directed,




 7
  https://web.archive.org/web/20221028212253/https://www.fda.gov/news-events/press-announcements/fda-
 approves-novel-dual-targeted-treatment-type-2-diabetes (archived FDA MOUNJARO® approval press
 announcement).


                                                      7
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 MOUNJARO® has been clinically proven to improve blood sugar control more effectively than

 other diabetes therapies.

         25.     ZEPBOUND® is designed to help the millions of American adults with obesity or

 overweight with weight-related medical problems. As FDA has noted, ZEPBOUND® “addresses

 an unmet medical need” by targeting “chronic weight management (weight reduction and

 maintenance)” through a new method of hormone receptor activation.8 Accordingly, FDA has

 indicated ZEPBOUND® for adults with obesity (BMI of 30 kg/m2 or greater) or those who are

 overweight (BMI ≥ 27 kg/m2 or greater) and also have at least one additional weight-related

 condition, such as hypertension (high blood pressure), dyslipidemia (high cholesterol or fats in

 blood), type 2 diabetes mellitus, obstructive sleep apnea, or cardiovascular disease.

         26.     Lilly exclusively owns the intellectual property rights related to MOUNJARO® and

 ZEPBOUND® and is the only lawful supplier of those medications.

         C.      The FDA Approval Process

         27.     FDA approved MOUNJARO® and ZEPBOUND® pursuant to Lilly’s marketing

 application, itself the culmination of a lengthy clinical trial process designed to develop, study,

 and bring safe medicines to patients so that—in FDA’s words—“American consumers benefit

 from having access to the safest and most advanced pharmaceutical system in the world.”9 Over

 the course of nearly a decade, Lilly completed thirty-seven pre-clinical studies and clinical trials

 for these medicines.




 8
  https://www.fda.gov/news-events/press-announcements/fda-approves-new-medication-chronic-weight-
 management (FDA ZEPBOUND® approval press announcement).

 9
   https://www.fda.gov/drugs/development-approval-process-drugs (FDA explainer of new drug development
 process).


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         28.     MOUNJARO® and ZEPBOUND® are the only FDA-approved medicines

 containing tirzepatide in the United States.

 II.     Drug Compounding and Its Inherent Risks

         A.      The Risks of Compounding Generally

         29.     Compounding is a “practice in which a licensed pharmacist, a licensed physician,

 or, in the case of an outsourcing facility, a person under the supervision of a licensed pharmacist,

 combines, mixes, or alters ingredients of a drug to create a medication tailored to the needs of an

 individual patient.”10

         30.     For example, if an individual patient is allergic to an ingredient in an FDA-

 approved medicine, a compounding pharmacy could produce a version of that medication that does

 not contain the allergen.

         31.     As FDA itself makes clear, “[c]ompounded drugs are not FDA-approved.”11 This

 means FDA does not review compounded drugs to evaluate their safety, effectiveness, or quality

 before they reach patients. Specifically, unlike FDA-approved medications, many compounded

 drugs do not require clinical testing and are not reviewed and approved by FDA for safety and

 efficacy. Further, many compounders are not subject to labeling requirements, need not comply

 with Good Manufacturing Practice regulations, their facilities are not subject to inspections by

 regulatory authorities, and they have no reporting requirements for adverse events.

         32.     For that reason, FDA has warned that “Compounded drugs . . . do not have the

 same safety, quality, and effectiveness assurances as approved drugs.             Unnecessary use of



 10
   https://www.fda.gov/drugs/guidance-compliance-regulatory-information/human-drug-compounding (FDA
 guidance on drug compounding law compliance).

 11
   https://www.fda.gov/drugs/human-drug-compounding/compounding-and-fda-questions-and-answers (FDA drug
 compounding FAQ).


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 compounded drugs unnecessarily exposes patients to potentially serious health risks.” 12 Indeed,

 FDA recently reiterated that compounded drugs that purport to contain tirzepatide “are not FDA-

 approved. This means the agency does not review compounded drugs for safety, effectiveness, or

 quality before they are marketed.”13

            33.   Health risks from compounded drugs are serious.                  In 2021, a compounding

 pharmacist pled guilty to providing adulterated compounded drugs to cataract surgery patients.

 The adulterated compounds contained “an excessive amount of an inactive ingredient” that can

 damage sensitive eye tissue.14 At least 68 patients were injected with the adulterated compounds,

 at two different surgery centers, over a period of months, even though patients suffered near-

 immediate adverse events, including permanent blindness.15 One patient had believed “every pill

 you take, every shot you take is tested” and was surprised to learn that compounded drugs were

 neither fully tested nor deemed safe or otherwise approved by FDA.16

            34.   Lilly has seen problems firsthand for compounded tirzepatide. Lilly has discovered

 compounded drugs advertised as tirzepatide with safety, sterility, and efficacy problems. Some

 contain bacteria, high impurity levels, low potency levels, different colors (pink, instead of

 colorless), or a chemical structure different from the tirzepatide in Lilly’s FDA-approved

 medicines. In at least one instance, Lilly saw nothing more than sugar alcohol.


 12
   https://www.fda.gov/drugs/human-drug-compounding/compounding-and-fda-questions-and-answers (FDA drug
 compounding FAQ).

 13
   https://www.fda.gov/drugs/postmarket-drug-safety-information-patients-and-providers/fdas-concerns-
 unapproved-glp-1-drugs-used-weight-loss (FDA statement on Unapproved GLP-1 Drugs).

 14
   https://www.fda.gov/inspections-compliance-enforcement-and-criminal-investigations/press-releases/texas-
 pharmacist-pleads-guilty-adulterating-drug-used-cataract-surgeries (FDA press announcement re guilty plea).
 15
   https://www.wfaa.com/article/news/do-not-publish-yet/287-5f002ed3-e110-4063-9959-a2e5f54b5097 (WFAA
 article re outbreak).

 16
      Id.


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            35.    Consequences from compounded drugs may be deadly.                       In October 2012,

 compounded drugs contaminated with a fungus were shipped throughout the country and later

 injected into patients’ spines and joints. After these contaminated products were injected into

 nearly 14,000 patients, more than 60 people died of fungal meningitis.17 Afterwards, FDA

 commented:

            The 2012 fungal meningitis outbreak was not an isolated event. It was the most
            serious in a long history of serious adverse events associated with contaminated,
            super-potent, mislabeled, or otherwise poor quality compounded drugs. In
            addition, many serious adverse events linked to poor quality compounded drugs,
            including outbreaks of infections and deaths have occurred since then. And,
            because most compounders do not report adverse events to FDA, the agency may
            not be aware of adverse events associated with compounded drugs unless a health
            care provider submits an adverse event report regarding his or her patients or a state
            official notifies FDA.18

 Company executives were convicted and received sentences of up to 14 years in prison.19

            36.    There are countless other examples of people experiencing serious injury from

 taking unregulated medicines. Inappropriate drug compounding caused at least 73 reported

 compounding errors between 2001 and 2019. These errors led to more than 1,562 adverse events

 and at least 116 deaths.20 There are also instances of close calls, particularly for sterile injectables.

 For example, in 2022 FDA issued a warning letter to North American Custom Laboratories, LLC

 d/b/a FarmaKeio Superior Custom Compounding for “serious deficiencies in your practices for

 producing drug products intended or expected to be sterile, which put patients at risk.”21 As a


 17
      Id.

 18
      https://www.fda.gov/media/102493/download (FDA Compounding Progress Report).

 19
   https://www.justice.gov/usao-ma/pr/former-owner-defunct-new-england-compounding-center-resentenced-14-
 years-prison. (DOJ press release on compounder prison sentence).


 21
   https://www.fda.gov/inspections-compliance-enforcement-and-criminal-investigations/warning-letters/north-
 american-custom-laboratories-llc-dba-farmakeio-superior-custom-compounding-642792-


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 result of these findings, FDA also recommended a voluntary recall of all of FarmaKeio’s unexpired

 drug products that are intended to be sterile.22

            37.   These risks have extended to compounded tirzepatide.

            38.   Given the popularity of Lilly’s MOUNJARO® and ZEPBOUND® medicines,

 numerous businesses, including Genesis, have begun to manufacture and/or market unapproved

 compounded products purportedly featuring tirzepatide.

            39.   As this conduct has become more prevalent, government agencies have warned the

 public as to the risks of such products.             For instance, in July 2024, FDA sent a letter to

 compounding advocacy organizations warning that it has received “reports describing patients who

 experienced adverse events following the administration of compounded . . . tirzepatide.”23 FDA

 reiterated that “compounded drug products, including compounded . . . tirzepatide products, are

 not FDA-approved. They do not undergo premarket review by FDA for safety, effectiveness, or

 quality.”24 Further, an October 2024 FDA statement warned of “multiple reports of adverse events,

 some requiring hospitalization, that may be related to dosing errors.”25 Unsurprisingly, poison

 control centers across the United States have also reported a troubling trend, seeing “a nearly




 11182022#:~:text=WARNING%20LETTER,-
 Dear%20Mr.&text=During%20the%20inspection%2C%20the%20investigator,firm%20on%20March%2010%2C%
 202022. (FDA Warning Letter to FarmaKeio).
 22
    https://www.fda.gov/drugs/drug-safety-and-availability/fda-warns-patients-and-health-care-professionals-not-use-
 sterile-products-north-american-custom (FDA notice of voluntary recall).

 23
   https://www.pa.gov/content/dam/copapwp-pagov/en/dos/department-and-offices/bpoa/nursing/fda-safety-alert.pdf
 (July 16, 2024, FDA letter sent to the Alliance for Pharmacy Compounding and the Outsourcing Facility
 Association).

 24
      Id.

 25
   https://www.fda.gov/drugs/postmarket-drug-safety-information-patients-and-providers/fdas-concerns-
 unapproved-glp-1-drugs-used-weight-loss (October 2, 2024 FDA statement on Unapproved GLP-1 Drugs).


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 1,500% increase in calls since 2019 related to overdose or side effects of injectable weight-loss

 drugs.”26

            40.      Leading organizations have also expressed concern. Earlier this year, the Obesity

 Society, Obesity Action Coalition, and Obesity Medicine issued a joint statement regarding

 compounded GLP-1 medicines, stating, “[u]nfortunately, many of the available alternatives [to

 GLP-1 therapies], like compounded versions of semaglutide and tirzepatide, are not what they are

 advertised to be.”27

            41.      The issue of unsafe compounded drugs purporting to contain tirzepatide has also

 received international attention.             Australia recently banned the development and sale of

 compounded anti-obesity medications because of “increasing community concern” and

 “increasing reports of patients coming to harm from” compounded drugs promoted to aid with

 weight loss.28 The ban—effective October 2024—targets compounded drugs that are “being

 misrepresented and sold as replica [] Mounjaro®.”29 As Mark Butler, Australia’s Minister for

 Health, said, “Australians should be able to have faith in the medications they use, including

 compounded medicines,” and the ban “will protect Australians from harm and save lives.”30




 26
      https://poisoncenters.org/track/GLP-1 (Poison Centers report on incretin overdoses).

 27
   https://obesitymedicine.org/blog/leading-obesity-expert-organizations-release-statement-to-patients-on-glp-1-
 compounded-alternatives/ (Joint Statement On Compounded GLP-1 Alternatives).

 28
   https://www.health.gov.au/ministers/the-hon-mark-butler-mp/media/protecting-australians-from-unsafe-
 compounding-of-replica-weight-loss-products (Australia Minister for Health and Aged Care press release).

 29
      Id.

 30
      Id.


                                                            13
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             B.      The Risk of Compounding with Untested Additives

             42.     Beyond offering compounded products that purport to contain the same API as

 FDA-approved medications, some compounders add additional bioactive ingredients to their

 formulations, including vitamin B12. These combinations are untested, unproven, and expose

 consumers to an unjustifiable risk of harm.

             43.     Lilly is unaware of any clinical testing exploring the safety and effectiveness of

 combining tirzepatide with vitamin B12. However, FDA recently cautioned that “[t]he safety and

 effectiveness of combining semaglutide with other ingredients has not been established.”31

 Likewise, the Obesity Medicine Association stated, “the clinical benefit of combining semaglutide

 or tirzepatide with additives such as vitamin B12 [ ] currently lacks proven clinical evidence.”32

 III.        Genesis’s False and Misleading Claims

             44.     Genesis is a medspa operator with sixty-six (66) locations across twenty-one (21)

 states. Genesis also offers telehealth services in eight (8) states.

             45.     As part of its services, Genesis promotes (and encourages potential customers to

 use) a weight loss treatment that it claims is compounded tirzepatide with vitamin B12, i.e. its

 Unapproved Compounded Drugs. In particular, Genesis claims it “prioritize[s] your wellness and

 provide[s] innovative solutions that address your health concerns holistically. One such cutting-

 edge treatment is Tirzepatide compounded with B12.”33




 31
   https://www.fda.gov/drugs/human-drug-compounding/fda-alerts-health-care-providers-compounders-and-patients-
 dosing-errors-associated-compounded (FDA warning on additives with compounded semaglutide).
 32
     https://www.sciencedirect.com/science/article/pii/S266736812400024X (OMA statement on compounded
 peptides).
 33
       https://www.genesislifestylemedicine.com/blog/what-is-tirzepatide-compounded-with-b12-and-how-can-you-get-
 it/


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            46.      As set forth in detail below, Genesis has made and continues to make numerous

 false and misleading statements throughout its advertising pertaining to the inherent quality of its

 Unapproved Compounded Drugs, including (i) statements that necessarily imply that Genesis’s

 Unapproved Compounded Drugs have been proven safe and effective at weight loss and (ii)

 express statements regarding the superior benefits offered by its Unapproved Compounded Drugs.

 These false and misleading statements go to the inherent nature of Genesis’s Unapproved

 Compounded Drugs and deceive consumers as to the nature and quality of Genesis’s unapproved

 and untested drugs.

            47.      A compilation of certain of Genesis’s false and misleading advertising are

 discussed below and are attached hereto as Exhibit A.

            A.       Defendant’s False and Misleading “Clinical Trial” Claims

            48.      Genesis’s website, located at https://www.genesislifestylemedicine.com/, offers

 tirzepatide for sale.34 Upon information and belief, Genesis sells, offers and prescribes to its

 customers compounded tirzepatide. In promoting that compounded product, Genesis repeatedly

 and exclusively refers to “tirzepatide” generically, without naming MOUNJARO® or

 ZEPBOUND®. Yet, Genesis then relies on studies of Lilly’s medicines on its website and on its

 social media channels when making statements that expressly state or necessarily imply that its

 Unapproved Compounded Drugs are FDA-approved medications indicated to achieve certain

 therapeutic outcomes. These clinical trials have no bearing on, and cannot substantiate claims

 about, Genesis’s Unapproved Compounded Drugs, which upon information and belief are sold

 without having undergone any testing for safety or effectiveness in achieving any of the

 therapeutic outcomes claimed.


 34
      https://www.genesislifestylemedicine.com/medical-weight-loss/tirzepatide/.


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        49.     Genesis necessarily implies through its website that its Unapproved Compounded

 Drugs are clinically tested and verified to be safe and effective:




        50.     Further down, Genesis expressly references clinical trials on its website:




        51.     This advertisement necessarily communicates to consumers that Genesis’s

 Unapproved Compounded Drugs have been clinically tested and shown to facilitate weight loss,

 yet no such clinical trials have been conducted.

        52.     Genesis’s references to clinical trials are clear establishment claims.           An

 establishment claim (i.e., a “tests prove” type of claim) must be supported by the kind of testing

 described in the advertisement. If the advertiser lacks the testing discussed in its advertising, its



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 claims are false. Here, Genesis’s advertising expressly and repeatedly references clinical trials in

 discussing the safety and efficacy of its Unapproved Compounded Drugs—i.e., tirzepatide with

 vitamin B12. Thus, Genesis must have clinical studies proving that its formula—i.e., tirzepatide

 with vitamin B12—is safe and effective at weight loss and improving blood sugar. Upon

 information and belief, Genesis does not have any clinical data assessing the safety or effectiveness

 of its Tirzepatide compounded with vitamin B12 formula.

        53.     Further, Genesis cannot rely on Lilly’s clinical trials for its FDA-approved

 MOUNJARO® and ZEPBOUND® to support these claims, because neither MOUNJARO® nor

 ZEPBOUND® contain vitamin B12. Likewise, neither MOUNJARO® nor ZEPBOUND® were

 tested in conjunction with vitamin B12. Thus, Lilly’s clinical studies are irrelevant to the safety

 and efficacy of Genesis’s Unapproved Compounded Drugs.

        B.      Defendant’s False and Misleading “More Effective” Claims

        54.     Further, Genesis makes numerous claims that its use of vitamin B12 in the

 Unapproved Compounded Drugs actually provides superior benefits than using tirzepatide

 alone—again, without any support for that claim. For example, Genesis’s social media notes that

 Genesis’s Unapproved Compounded Drugs contain vitamin B12, and claims in this video (posted

 on October 4, 2024) that “combining tirzepatide with B12 creates a powerful synergy that

 enhances the benefits of both compounds . . . The appetite suppressing effects of tirzepatide

 coupled with the metabolic boost of B12 leads to more effective weight loss.”:




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        55.     These aggressive and utterly unfounded health benefit claims necessarily imply that

 Genesis not only has testing that establishes the safety and efficacy of its Unapproved

 Compounded Drugs with vitamin B12, but that it has testing that establishes that tirzepatide

 compounded with vitamin B12 actually provides superior weight loss. As noted above, and on

 information and belief, Genesis has no such testing or data to support its advertising claims, and

 the Obesity Medicine Association stated, “the clinical benefit of combining semaglutide or

 tirzepatide with additives such as vitamin B12 [ ] currently lacks proven clinical evidence.” Yet,

 Genesis continues to advance these health benefit claims and placed the public at risk from taking

 untested and unapproved compounded drugs.

        56.     Likewise, Genesis’s website further promotes its Unapproved Compounded Drugs,

 including the webpage “https://www.genesislifestylemedicine.com/blog/what-is-tirzepatide-

 compounded-with-b12-and-how-can-you-get-it/,” which claims that Genesis’s combination of



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 compounded tirzepatide and vitamin B12 “maximizes the efficacy of weight loss and metabolic

 health management.”




             57.     Genesis goes on to list those purported benefits it claims consumers receive when

 they use tirzepatide with vitamin B12, as opposed to tirzepatide alone:35




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       https://www.genesislifestylemedicine.com/blog/what-is-tirzepatide-compounded-with-b12-and-how-can-you-get-
 it/


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        58.     As shown above, Genesis expressly tells consumers that its “Tirzepatide

 compounded with B12” leads to “more effective weight loss” and helps patients “achieve and

 maintain a healthier weight more efficiently” and provides “better metabolic health.”

        59.     Genesis’s advertising necessarily communicates that its Unapproved Compounded

 Drugs have not only been clinically proven to be safe and effective, but its “Tirzepatide

 compounded with B12” product has been proven more effective at weight loss and better for

 improved blood sugar levels.       Again, Genesis must possess such clinical data in order to

 substantiate its claims.   Yet, Genesis’s “Tirzepatide compounded with B12” has not been

 demonstrated to function at all in any clinical trial, let alone “more effectively” than tirzepatide

 alone (i.e., it has not been clinically proven to provide better weight loss that MOUNJARO® or

 ZEPBOUND®).

                                                  ***

        60.     In short, throughout its advertising, Genesis makes a series of false and misleading

 claims that expressly state and/or necessarily imply that its Unapproved Compounded Drugs—

 Tirzepatide compounded with B12—has been clinically tested and backed by specific scientific

 research to not only provide safe and effective weight loss benefits, but to provide superior benefits

 over tirzepatide alone.     These statements—individually and collectively—communicate to

 prospective purchasers that Genesis’s untested and unapproved drugs are proven safe and effective

 for the treatment of that person’s type 2 diabetes or obesity and provide better outcomes than

 Lilly’s FDA-approved tirzepatide medicines. Quite the contrary: no regulator—let alone FDA—

 has evaluated the safety or effectiveness of Genesis’s Unapproved Compounded Drugs. Lilly is

 unaware of any data supporting Genesis’s representation that its Unapproved Compounded




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 Drugs—whether claiming to be tirzepatide or to be tirzepatide combined with vitamin B12—are

 safe and effective.

         61.    Genesis’s false and misleading statements are intended—and likely—to cause

 confusion, to cause mistake, or to deceive consumers as to the nature and quality of Genesis’s

 products. Further, these statements present a significant patient safety risk, as these statements

 have the tendency to lure the unassuming public away from using safe, effective, FDA-approved

 medicines and encourage the use of untested, unapproved compounded drugs.

 IV.     Harm from Defendant’s Conduct

         62.    Genesis’s false, misleading, and reckless promotion and sale of its products has

 harmed Lilly and consumers and will continue to do so if left unchecked.

         63.    First, Genesis’s misrepresentations lure reasonable consumers away from obtaining

 safe and effective treatment with MOUNJARO® or ZEPBOUND® on the false promise that

 Genesis’s Unapproved Compounded Drugs are as or more effective in helping people treat

 diabetes and address weight-related medical problems. This not only has and will continue to

 result in lost sales for Lilly, but more importantly risks severe harm to consumers—at best

 financially, but potentially far worse.

         64.    Second, Genesis’s misrepresentations cause irreparable damage to Lilly’s brand

 and customer goodwill by placing consumers at an impermissibly elevated risk of harm. Should

 injury befall one of Genesis’s patients, Genesis’s false and misleading advertising is likely to

 confuse consumers, who will undoubtedly draw negative inferences as to Lilly’s medicines as

 well.




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                                   FIRST CAUSE OF ACTION
                         False and Misleading Advertising and Promotion
                             in Violation of 15 U.S.C. § 1125(A)(1)(B)

           65.   Lilly repeats and realleges each and every allegation above as if fully set forth

 herein.

           66.   Genesis’s commercial advertising claims described herein are false and misleading

 in violation of Section 43(a)(1)(B) of the Lanham Act, 15 U.S.C. § 1125(a)(1)(B).

           67.   Genesis has knowingly and willfully made materially false and misleading

 statements in its commercial advertisements for its Unapproved Compounded Drugs (including its

 website and social media). These statements regarding alleged clinical studies on the safety,

 quality, and effectiveness of Genesis’s Unapproved Compounded Drugs have influenced and are

 likely to continue to influence consumers’ purchasing decision—specifically, the decision to

 purchase Genesis’s Unapproved Compounded Drugs instead of Lilly’s FDA-approved medicines.

 As a result, Genesis is steering individuals with serious diseases like diabetes and obesity away

 from obtaining safe, effective, available, and FDA-approved treatments. Genesis’s unlawful

 conduct is putting health, safety, and lives at risk.

           68.   Genesis has caused its false statements to enter interstate trade or commerce.

           69.   As a direct and proximate result of Genesis’s false and deceptive campaign, Lilly

 is suffering immediate and continuing, competitive irreparable injury for which there is no

 adequate remedy at law.

           70.   As a direct and proximate result of Genesis’s false and deceptive campaign, Lilly

 has suffered and will continue to suffer significant monetary damages and discernible competitive

 injury by the loss of goodwill.

           71.   This is an exceptional case under 15 U.S.C. § 1117.



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        72.     Lilly is entitled to injunctive relief as well as monetary damages, and other remedies

 provided by Sections 1116, 1117, and 1118, including Genesis’s profits, treble damages,

 reasonable attorneys’ fees, costs, and prejudgment interest.

                                      PRAYER FOR RELIEF

        WHEREFORE, Plaintiff Lilly prays that this Court enter judgment in its favor on its claim

 for relief set forth above and award it relief including, but not limited to, the following:

        1.      An Order declaring that Genesis:

                a.      Engaged in false and misleading advertising and promotion, in violation of

                        15 U.S.C. § 1125(a);

                b.      That each of the above acts was willful and knowing.

        2.      An injunction permanently enjoining and restraining Genesis and its officers,

 agents, servants, employees, and attorneys and all persons acting in concert or participation with

 any of them, from:

                a.      Falsely stating or suggesting that Genesis’s Unapproved Compounded

                        Drugs have been the subject of clinical studies or achieve certain therapeutic

                        outcomes;

                b.      Falsely claiming that its vitamin B12 compounded product offers superior

                        or enhanced benefits over tirzepatide alone;

                c.      Engaging in any unfair competition with Plaintiff Lilly; and

                d.      Engaging in any deceptive or unfair acts.

        3.      An Order requiring Genesis and its officers, agents, servants, employees, and

 attorneys and all persons acting in concert or participation with any of them, to engage in corrective

 advertising by informing consumers that:



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                a.      Genesis’s Unapproved Compounded Drugs are not MOUNJARO® or

                        ZEPBOUND®;

                b.      Genesis’s Unapproved Compounded Drugs do not contain the same

                        formulation as MOUNJARO® or ZEPBOUND®;

                c.      Genesis’s Unapproved Compounded Drugs are not and have never been

                        approved by FDA;

                d.      Genesis’s Unapproved Compounded Drugs have never been studied in

                        clinical trials;

                e.      Genesis’s Unapproved Compounded Drugs have never been demonstrated

                        to be safe or effective; and

                f.      Genesis’s tirzepatide compounded with vitamin B12 does not offer

                        enhanced or superior outcomes or weight loss.

        4.      An Order directing Genesis to file with this Court and serve on Lilly’s attorneys,

 thirty (30) days after the date of entry of any injunction, a report in writing and under oath setting

 forth in detail the manner and form in which it has complied with the Court’s injunction.

        5.      An Order requiring Genesis to account for and pay to Lilly any and all profits

 arising from the foregoing acts of false advertising.

        6.      An Order requiring Genesis to pay Lilly compensatory damages in an amount as

 yet undetermined caused by the false advertising and trebling such compensatory damages for

 payment to Lilly in accordance with 15 U.S.C. § 1117 and other applicable laws.

        7.      An Order for pre-judgment and post-judgment interest on all damages.

        8.      An Order requiring Genesis to pay Lilly’s costs and attorney fees in this action

 pursuant to 15 U.S.C. § 1117 and any other applicable provision of law.



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       9.     Other relief as the Court may deem appropriate.

                                        JURY DEMAND

       Lilly hereby demands a jury trial for all issues so triable.


  Dated: October 21, 2024                         Respectfully submitted



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